 Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3498 Page 1 of 20




     JOSEPH H. HUNT                              Lee Gelernt*
 1
     Assistant Attorney General                  Judy Rabinovitz*
 2   SCOTT G. STEWART                            Anand Balakrishnan*
     Deputy Assistant Attorney General           AMERICAN CIVIL LIBERTIES
 3
     WILLIAM C. PEACHEY                          UNION FOUNDATION
 4   Director                                    125 Broad St., 18th Floor
 5   Office of Immigration Litigation            New York, NY 10004
     WILLIAM C. SILVIS                           T: (212) 549-2660
 6   Assistant Director                          F: (212) 549-2654
 7   Office of Immigration Litigation            lgelernt@aclu.org
     SARAH B. FABIAN                             jrabinovitz@aclu.org
 8   Senior Litigation Counsel                   abalakrishnan@aclu.org
 9   NICOLE MURLEY
     Trial Attorney                              Bardis Vakili (SBN 247783)
10   Office of Immigration Litigation            ACLU FOUNDATION OF
11   U.S. Department of Justice                  SAN DIEGO & IMPERIAL
     Box 868, Ben Franklin Station               COUNTIES
12   Washington, DC 20442                        P.O. Box 87131
13   Telephone: (202) 532-4824                   San Diego, CA 92138-7131
     Fax: (202) 616-8962                         T: (619) 398-4485
14                                               F: (619) 232-0036
15 ADAM L. BRAVERMAN                             bvakili@aclusandiego.org
   United States Attorney
16 SAMUEL W. BETTWY                              Stephen B. Kang (SBN 292280)
17 Assistant U.S. Attorney                       Spencer E. Amdur (SBN 320069)
   California Bar No. 94918                      AMERICAN CIVIL LIBERTIES
18 Office of the U.S. Attorney                   UNION FOUNDATION
19 880 Front Street, Room 6293                   39 Drumm Street
   San Diego, CA 92101-8893                      San Francisco, CA 94111
20 619-546-7125                                  T: (415) 343-1198
21 619-546-7751 (fax)                            F: (415) 395-0950
                                                 skang@aclu.org
22 Attorneys for Federal Respondents-            samdur@aclu.org
23 Defendants
                                                 Attorneys for Petitioners-
24                                               Plaintiffs
25                                               *Admitted Pro Hac Vice
26
27
28
 Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3499 Page 2 of 20




 1
                                UNITED STATES DISTRICT COURT
 2                            SOUTHERN DISTRICT OF CALIFORNIA
 3
           MS. L, et al.,                                  Case No. 18cv428 DMS MDD
 4
 5                    Petitioners-Plaintiffs,
                                                           JOINT STATUS REPORT
 6         vs.
 7
           U.S. IMMIGRATION AND
 8         CUSTOMS ENFORCEMENT, et
 9         al.,

10                    Respondents-Defendants.
11
12
           The Court ordered the parties to file a joint status report on September 13,
13
14 2018, in anticipation of the telephonic status conference scheduled for September
15 14, 2018, at 1:00 p.m. PST. The parties submit this joint status report in accordance
16
   with the Court’s instruction.
17
18 I.     DEFENDANTS’ POSITIONS

19      A. Update on Reunifications: Defendants are discharging children
20         appropriately and expeditiously
21         Defendants have appropriately discharged an additional 36 children since the
22
     last Joint Status Report, for a total of 2,217 children.
23
24         Looking ahead, there are 211 children proceeding towards reunification or
25 another appropriate discharge. Specifically, there are:
26
27
28

                                                1                          18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3500 Page 3 of 20




 1       • 46 children in ORR care with a parent who is in the United States and

 2          presently in the class. Of the 46 children, 7 cannot be reunified at this time
 3
            because their parents are in other federal, state, or local custody (e.g., state
 4
 5          criminal detention). One of the 46 children cannot be reunified at this time

 6          because Defendants are still reviewing the parent’s “red flag.” Defendants
 7
            are working to appropriately discharge the remaining 38 of 46 children.
 8
 9          See Table 1: Reunification Update.

10       • 58 children in ORR care who have parents presently departed from the
11
            United States, who have cleared Processes 1 through 3 of the court-
12
13          approved reunification plan, and who are proceeding towards reunification
14          with their parents in their home country. See Table 2: Reunification of
15
            Removed Class Members.
16
17       • 107 children in ORR care who have parents presently departed from the
18          United States, and for whom the ACLU has not yet provided notice of
19
            parental intent regarding reunification (or declination of reunification).
20
21          Defendants are supporting the efforts of the ACLU to obtain statements of
22          intent from those parents, as described in subsequent sections of this Joint
23
            Status Report. Once Defendants receive the notices from the ACLU,
24
25          Defendants will either reunify the children or move them into the TVPRA
26
27
28

                                              2                               18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3501 Page 4 of 20



               sponsorship process, consistent with the intent of the parent. See Table 2:
 1
 2             Reunification of Removed Class Members.
 3
           Four groups of children in ORR care are not in the reunification process
 4
 5 because Defendants have concluded that their parents are out of the class. Those
 6 groups include children who Defendants determined were not separated (55
 7
     children), children whose parents have final red flag determinations (29 children),
 8
 9 children with parents who are presently departed from the United States and have
10 declined reunification through the ACLU (114 children), and children with parents
11
     who are in the United States and have indicated an intent not to reunify (28 children).
12
13 As discussed below, the parties are meeting and conferring regarding the status of
14 some of the children in some of those groups.
15
           The current reunification status for children ages 0 through 17 is further
16
17 summarized in Table 1 below. The data in Table 1 reflects approximate numbers
18 maintained by ORR at least as of September 10, 2018. These numbers are dynamic
19
   and continue to change as more reunifications or discharges occur. Changes in
20
21 format from last week’s reporting are explained further below.
22
23
24
25
26
27
28

                                               3                              18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3502 Page 5 of 20



                             Table 1: Reunification Update
 1
 2
                                                        Phase 1   Phase 2
 3                     Description                      (Under 5) (5 and    Total
                                                                  above)
 4   Total number of possible children of potential     103       2,551     2,654
     class members originally identified
 5                                  Discharged Children
 6   Total children discharged from ORR care:           84        2,133     2,217
 7      • Children discharged by being reunified        72        1,913     1,985
           with separated parent
 8      • Children discharged under other
 9         appropriate circumstances (these include
           discharges to other sponsors [such as        12        220       232
10         situations where the child’s separated
11         parent is not eligible for reunification] or
           children that turned 18)
12                       Children in ORR Care, Parent in Class
13   Children in care where the parent is not eligible
14   for reunification or is not available for discharge 6        205       211
     at this time:
15
        • Parent presently outside the U.S.           5         160         165
16      • Parent presently inside the U.S.            1         45          46
17         o Parent in other federal, state, or local
                                                      0         7           7
              custody
18         o Parent red flag case review ongoing – 0            1           1
19            safety and well being
                       Children in ORR Care, Parent out of Class
20
     Children in care where further review shows      5         50          55
21   they were not separated from parents by DHS
22   Children in care where a final determination has 7           22        29
     been made they cannot be reunified because the
23   parent is unfit or presents a danger to the child
24   Children in care with parent presently departed 1            113       114
     from the United States whose intent not to
25   reunify has been confirmed by the ACLU
     Children in care with parent in the United States
26                                                     0          28        28
     who has indicated an intent not to reunify
27
28

                                             4                          18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3503 Page 6 of 20



           As discussed above, Table 1 contains three new groups of children in ORR
 1
 2 care who are no longer in the reunification process because Defendants have
 3
     determined that the parents are out of the class.
 4
 5         The first new group is “Children in care where a final determination has been

 6 made they cannot be reunified because the parent is unfit or presents a danger to the
 7
     child.” This group consists of cases where Defendants have resolved previous “red
 8
 9 flags” to reunification and made final determinations for exclusions based on
10 criminal history, parental fitness, or child safety. See Dkt. No 82 at 17 (defining
11
     class). Defendants provided Plaintiffs with a line list of those cases on September
12
13 7, and are meeting and conferring with Plaintiffs about the same.
14         The second new group is “Children in care with parent presently departed
15
     from the United States whose intent not to reunify has been confirmed by the
16
17 ACLU.” This group corresponds to the cohort of children reported in “Table 2:
18 Reunification of Removed Class Members” as “Children whose parents waived
19
   reunification.” For each of these children, Plaintiffs have confirmed, supported by
20
21 declarations under penalty of perjury, that their parents have “affirmatively,
22 knowingly, and voluntary waive[d] reunification and have the child proceed through
23
   the standard TVPRA-governed ORR sponsorship process.” This group is now in
24
25 the TVPRA sponsorship process.
26
27
28

                                               5                           18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3504 Page 7 of 20



           The third new group is “Children in care with parent in the United States who
 1
 2 has indicated an intent not to reunify.” Under the court-approved reunification plan,
 3
     the parents of these children are not in the class. Defendants have nevertheless
 4
 5 agreed to meet and confer with Plaintiffs about this group
 6              B. Update on Removed Class Members: Defendants are working
 7                 with Plaintiffs’ counsel to implement parental intent

 8         The current reunification status of removed class members is set forth in Table
 9
     2 below.     The data presented in this Table 2 reflects approximate numbers
10
11 maintained by ORR as of at least September 10, 2018. These numbers are dynamic
12 and continue to change as the reunification process moves forward.
13
                    Table 2: Reunification of Removed Class Members
14
      REUNIFICATION REPORTING METRIC                             NO.    REPORTING
15    PROCESS                                                           PARTY
16    STARTING      Children in ORR care with
      POPULATION    parents presently departed from              279    Def’s.
17                  the U.S.
18    PROCESS 1:
19    Identify & Resolve Children with no “red flags” for        279    Def’s.
      Safety/Parentage   safety or parentage
20    Concerns

21    PROCESS 2:             Children with parent contact
      Establish Contact      information identified              279    Def’s.
22    with Parents in
      Country of Origin      Children with no contact issues
                             identified by plaintiff or          279    Def’s. & Pl.’s
23                           defendant
24                           Children with parent contact
                             information provided to ACLU        279    Def’s.
25                           by Government
26
27
28

                                              6                              18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3505 Page 8 of 20



      PROCESS 3:             Children for whom ACLU has
 1    Determine              communicated parental intent       172     Pl’s.
      Parental Intention     for minor:
 2    for Minor
                                 • Children whose parents       114     Pl’s.
 3
                                   waived reunification
 4
                                 • Children whose parents
 5                                  chose reunification in      58      Pl’s.
                                    country of origin
 6
                             Children for whom ACLU has
 7                           not yet communicated parental      107     Pl’s.
                             intent for minor:
 8
 9    PROCESS 4:          Total children cleared Processes
      Resolve             1-3 with confirmed intent for      58         Pl’s.
10    Immigration         reunification in country of origin
      Status of Minors to
11    Allow                  • Children in ORR care with
      Reunification              orders of voluntary         19         Def’s.
12                               departure
13
14     C. Locating Removed Parents
15
           According to the latest weekly list provided to Defendants by Plaintiffs there
16
17 are zero children currently in care with removed parents for whom Plaintiffs’ data
18 shows that contact was unsuccessful or no phone number was provided. Today,
19
   Plaintiffs informed Defendants that there are 60 parents remaining for which
20
21 Plaintiffs have phone numbers, but with whom Plaintiffs have not yet made contact.
22 They are continuing to reach out the phone numbers that they have for those parents,
23
   and hope that contact will be made. Plaintiffs have not yet provided Defendants with
24
25 a list of those 60 parents.
26
27
28

                                              7                             18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3506 Page 9 of 20



           Given that ORR programs have had consistent success contacting all parents
 1
 2 for whom Defendants have phone numbers (which would likely include all 60
 3
     parents whom Plaintiffs are still seeking to contact), when the parties met and
 4
 5 conferred on September 12, 2018, the Government suggested that the best next step
 6 to facilitate communication with those remaining parents would be for the
 7
     Government to coordinate three-way calls between the child, parent and Steering
 8
 9 Committee. As the Declaration of Commander Jonathan White (being filed
10 concurrently herewith) explains, in the Government’s experience, contact with
11
     parents through the ORR shelter care centers in which their children are housed is
12
13 the most expeditious and effective means to establish contact with parents in home
14 country. Put simply, where parents may not always be responsive to other
15
     individuals, they are responsive to the ORR shelter programs. Plaintiffs agreed that
16
17 this would be helpful.
18         The government also will continue to work to ensure that the most up-to-date
19
     contact information for those cases is provided to Plaintiffs. Moreover, as
20
21 Defendants further explained to Plaintiffs when the parties spoke, the Government
22 remains open to taking additional steps when there is an indication that a phone
23
   number is legitimately inoperative. Such additional steps, however, should be
24
25 tailored to the individual case. That is, additional steps should be geographically and
26 strategically targeted to reach the specific parents who are not reachable
27
28

                                              8                              18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3507 Page 10 of 20



     telephonically. Plaintiffs have suggested methods that they believe should be tried if
 1
 2 necessary for these cases, and Defendants are willing to consider whether any of
 3
     those methods (or others) would be effective once they receive information from
 4
 5 Plaintiffs regarding individuals for whom efforts to make contact have failed.
 6         When the parties spoke, Plaintiffs also raised questions about the coordination
 7
     between Defendants and foreign governments to facilitate contact and reunifications.
 8
 9 Commander White’s declaration explains the coordination that occurs between the
10 United States government and foreign embassies, and between ICE attachés and the
11
     agencies of foreign governments on the ground. Defendants will meet and confer
12
13 with Plaintiffs further on this subject as the process moved forward.
14      D. Information Sharing
15
           Defendants are now producing to Plaintiffs on a weekly basis spreadsheets
16
17 that identify the individuals who make up a majority of the numbers reported by
18 Defendants each week in Sections A and B of the Joint Status Report. Defendants
19
   also are producing information on a weekly basis to Plaintiffs regarding waivers of
20
21 reunification and reunifications of families in ICE custody. Defendants also have
22 provided over the last few weeks many additional sets of information in response to
23
   inquiries from Plaintiffs about data that was previously provided.
24
25        Defendants met and conferred with Plaintiffs on September 12, 2018, and
26 Defendants are following up regarding some further inquiries made by Plaintiffs on
27
28

                                               9                              18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3508 Page 11 of 20



     that call. However, based on that discussion Defendants believe that the data that
 1
 2 they have provided, in conjunction with the weekly production, largely meets all of
 3
     Plaintiffs’ needs for data that they have expressed to date. The parties will continue
 4
 5 to meet and confer regarding Plaintiffs’ data needs.
 6
        II.       PLAINTIFFS’ POSITIONS
 7
        A. Steering Committee Progress
 8
              The Steering Committee has continued to make significant progress in
 9
     contacting parents and confirming parent and child wishes with respect to
10
     reunifications. As of Wednesday, September 12, the Committee delivered final
11
     preferences for 185 1 parents to the Government. As requested by the Court,
12
     Plaintiffs’ counsel and the Steering Committee have also met and conferred with
13
     the Government regarding on-the-ground efforts in Central America, and are
14
     working together to implement ideas for those efforts, as outlined below.
15
              First, we report the status of our efforts based on the Government’s
16
     September 7 list of 304 children in ORR custody with removed parents. With
17
     respect to those children and parents, the Steering Committee’s progress in
18
     contacting parents and delivering preferences to the Government is as follows:
19
20            1
             This figure is based on the Government’s September 7 report of 304
21   children remaining in ORR custody. Since the creation of the Steering Committee,
     the Government first provided lists of children in ORR care with removed parents
22   on August 7th and 10th. Both lists combined included a total number of 412
23   children in ORR care with removed parents. On Fridays since this time, the
     Government has sent new (shorter) lists of children in ORR care with removed
24   parents. Its August 24th list included one additional child, for a total of 413. Its
25   September 7th list included a further additional child in ORR care, for a total of
     414. As noted infra, the Steering Committee has delivered the final preferences for
26   206 parents to the Government of 414 children reported by the Government in the
27   aggregate to have been in ORR custody.
28

                                                10                             18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3509 Page 12 of 20




 1
 2   Removed parents identified by the Government to        304
     Steering Committee                                     (reported to Steering
 3                                                          Committee on
 4                                                          9/7/2018)

 5      • Parents for whom Committee has no phone           0
          number (and hasn’t otherwise contacted)
 6
 7   Steering Committee called phone number for parent      304
     (using Government-provided number or number
 8   otherwise obtained by Steering Committee)
 9
     Steering Committee spoke to parent (either by phone    237
10   or in person)
11      • Parents successfully reached through phone        230
12        contact
13      • Parents found through outreach by NGOs            7
14
        • Parents called and not reached (and not reached 6792
15        through NGO efforts)
16            o Phone number determined to be               0
17              inoperable or ineffective
18            o Contact efforts ongoing                     679
19
     Parents reached by phone or NGO outreach               237
20
        • Reunified: confirmed reunifications in home 1
21        country
22
23
          2
           Since last week’s Status Conference, the Government has provided
24 additional contact information for several of these parents. The Steering
25 Committee is actively using this information to attempt to make contact with those
   parents (recognizing that multiple call attempts may be required for each parent)
26 and is meeting and conferring with the Government about any parents for whom
27 contact has not been possible, after exhausting repeated attempts.
28

                                           11                            18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3510 Page 13 of 20




 1       • Parent’s preference with respect to reunification 189
           has been confirmed to match child’s
 2
         • Preliminary indication of parent’s wishes with 23
 3
           respect to reunification
 4
         • Ongoing discussions         with   parent     about 24
 5         reunification
 6
         • Parent’s  final    preference           has   been 185
 7         communicated to government
 8
           As discussed further below, the Steering Committee is meeting and
 9
     conferring with the government to clarify the bases for which children and parents
10
     have been removed from the Government’s operative list, and has continued to
11
     reach out to parents who were on the Government’s previous lists, but who have
12
     been omitted Government’s current list.3 The Government has provided
13
     information that has clarified the status of a number of families, and we continue to
14
     work with the Government and anticipate receiving additional information from
15
     the Government relating to this issue.
16
           Where the Steering Committee has identified parents and children who
17
     remain separated and wish to be reunified, it has reported those family’s decisions
18
     to the Government, irrespective of whether the children appear on the
19
     Government’s most recent list. As of Wednesday, September 12, the Steering
20
     Committee had reported on the preferences of an additional 21 families who were
21
     on the Government’s earlier lists, but are not on the September 7 list. The Steering
22
     Committee’s progress for this larger group of 414 is reported at the end of the
23
     Steering Committee Report, so that the Court may compare progress in the past
24
25
           3
           As noted above, the total number of children in ORR care with removed
26 parents who at some point have been identified by the Government to the Steering
27 Committee is 414.
28

                                              12                             18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3511 Page 14 of 20




 1 week using the same baseline group.
 2     B. Effectuation of the Court-Approved Plan
 3         This week, the Steering Committee raised concerns with the Government
 4 regarding its compliance with the Court-approved plan (the “Plan”). (ECF No.
 5 189-1.) As set forth in the Plan, where a Notice to Appear (“NTA”) has been filed
 6 in a child’s immigration proceedings and the Steering Committee has conveyed to
 7 the Government a parent’s desire to be reunified with that child, DHS is required to
 8 “move to dismiss proceedings without prejudice, noting in such motion that it is
 9 based on Ms. L reunification” and the reunification should proceed accordingly in
10 the Country of Origin. (Id. at 6.)
11         The Steering Committee has learned of several instances where the Steering
12 Committee has submitted a declaration attesting to a parent’s wishes for
13 reunification but the child’s attorney was advised by DHS officials that it would
14 not dismiss the case (as called for in the Reunification Plan) and that a child must
15 instead request a Voluntary Departure order, which, among other things, has the
16 practical effect of delaying reunification. The Government has indicated, in
17 response, that it had been finalizing certain “documentation necessary for children
18 to be returned under the Plan” and that Voluntary Departure orders were being
19 pursued in the interim but that the documentation in question has now been
20 finalized and all future proceedings should occur with dismissals, as required under
21 the Plan. Plaintiffs therefore request that Voluntary Departure orders that were
22 previously obtained before this documentation was finalized be converted into
23 dismissals, as they should have been once the Reunification Plan went into effect,
24 and that the Government expeditiously move to terminate all proceedings that are
25 pending (where a Voluntary Departure order has not yet been obtained).
26         The Steering Committee has also brought to the Government’s attention
27 certain cases of very young children and children in distress that it asks be treated
28

                                              13                             18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3512 Page 15 of 20




 1 with special care and expediency, and we expect to meet and confer with the
 2 Government to ensure that these cases are appropriately addressed.
 3     C. On-the-Ground Efforts
 4        At last week’s Status Conference, the Court asked the Steering Committee to
 5 develop suggestions for steps the Government can take to assist with on-the-
 6 ground efforts to locate and communicate with parents. The Steering Committee
 7 has since met and conferred with the Government about the following ways in
 8 which the Government may be able to assist with these efforts:
 9     • Outreach Support
10           o The Steering Committee has suggested that Government place notices
11              in the countries of origin as outlined in Process 2 of the Plan,
12              specifically radio announcements, billboards, and notices in local
13              churches.
14           o The Steering Committee believes that some parents may not be
15              answering calls that appear to originate from the U.S. out of fear. Thus,
16              the Steering Committee requested that the Government procure and
17              provide local Guatemalan and Honduran telephone numbers/telephones
18              that the Steering Committee can use to contact parents.
19           o The Government has offered to coordinate three-way calls between the
20              child, parent and Steering Committee. As noted below, the Steering
21              Committee agrees that this would be helpful.
22     • Logistical Support
23           o To help address the innumerable logistical challenges on the ground,
24              the Steering Committee asks that the Government designate an
25              Ombudsman to work out of the U.S. Embassies/Consulates in
26              Guatemala and Honduras to assist with efforts to locate parents and
27              repatriate their children. This person would also be tasked with being
28

                                            14                              18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3513 Page 16 of 20




 1                 a point person for parents on logistical issues, such as ensuring
 2                 documents are in order, that parents are aware of the timing of
 3                 reunification, and coordinating travel by parents and children to the
 4                 place of reunification. Many parents do not have the means of making
 5                 this journey on their own. Moreover, because it may often take the
 6                 parents days to reach the location of the child’s drop-off, it is critical
 7                 that the parents be given sufficient advance notice that their child is on
 8                 his or her way home. This coordination work is currently being done
 9                 largely by non-profits or by the governments of Guatemala and
10                 Honduras.      Non-profits are also operating at an information
11                 disadvantage, because they do not receive advance notice of when
12                 children are to be repatriated.
13     • Travel Support:
14              o The Steering Committee has also inquired about the possibility of the
15                 Government making available helicopter and car transportation for
16                 investigators and advocates on the ground to facilitate travel to locate
17                 and meet with parents in remote locations.
18     D. Outstanding Data-Related Issues for the Steering Committee
19         The Steering Committee continues to meet and confer with the Government
20 regarding data requested from the Government in order to ensure that all parents
21 are accounted for and reunified with their children imminently, if that is the
22 parent’s wish.
23         The parties have made progress regarding a number of issues previously
24 reported to the Court, and the Steering Committee continues to hope that these
25 issues will be resolved informally.
26         2.      Removals from Government Lists
27         The Steering Committee continues to meet and confer with the Government
28

                                                15                             18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3514 Page 17 of 20




 1 regarding information explaining why parents and children have been removed
 2 from or added to the lists of class members or children in ORR custody previously
 3 produced by the Government (in a desire to understand changes made to the
 4 Government’s “Starting Population” documented in each week’s Joint Status
 5 Report). The Parties have made progress with respect to these data discrepancies
 6 and the Steering Committee hopes the remaining issues can be resolved without
 7 Court intervention.
 8         3.    Inoperative/Ineffective/Lack of Phone Numbers
 9         The Steering Committee continues to meet and confer with the Government
10 over the apparent discrepancy in the Steering Committee’s inability to contact
11 certain parents due to inoperative or ineffective phone numbers, as compared to the
12 Government’s reported ability to contact these same parents. The Government has
13 provided additional information in the form of new phone numbers, which has
14 allowed the Steering Committee to make progress in contacting some parents. For
15 parents the Steering Committee is still unable to reach, the Parties have agreed that
16 the Steering Committee will identify such parents to the Government, and the
17 Government will work to facilitate three-way calls among the child, parent and the
18 Steering Committee.
19               Steering Committee Progress on Total Reported Parents/Children
                 (414)
20
21          Removed parents identified by the Government to            414
            Steering Committee (8/7/28, 8/10/18 and 8/24/18 lists)
22
                • Parents for whom Committee has no phone              19
23                number (and hasn’t otherwise contacted)
24
            Steering Committee called phone number for parent          395
25          (using Government-provided number or number
26          otherwise obtained by Steering Committee)

27
28

                                             16                              18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3515 Page 18 of 20




 1         Steering Committee spoke to parent (either by phone or      302
           in person)
 2
               • Parents called and successfully reached               289
 3
 4             • Parents found through outreach by NGOs                13

 5             • Parents called and not reached (and not reached       93
 6               through NGO efforts)

 7                   o Phone number inoperable or ineffective          9
 8                   o Contact efforts ongoing                         84
 9
           Parents reached by phone or NGO outreach                    302
10
               Reunified: confirmed reunifications in home country 21
11
12             Parent’s preference with respect to reunification has   213
               been confirmed to match child’s
13
               Preliminary indication of parent’s wishes with          31
14             respect to reunification
15
               Ongoing discussions with parent about reunification 37
16
               Parent’s final preference has been communicated to      206
17
               government
18
19     E. Information Sharing Regarding Government’s JSR Numbers
20        Plaintiffs have now received A#s identifying the cases described in the
21 Government’s September 6 status report for most categories that the Government
22 reports. The parties have met and conferred on remaining issues, including timely
23 updates of those A#s underlying the Government’s numbers reported in weekly
24 status reports, and Plaintiffs’ request for updated data to show which Class
25 members are subject to final removal orders. Plaintiffs will continue to meet and
26 confer with the Government on these issues.
27
28

                                            17                               18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3516 Page 19 of 20




 1
     DATED: September 13, 2018       Respectfully submitted,
 2
 3                                   /s/ Lee Gelernt
                                     Lee Gelernt*
 4                                   Judy Rabinovitz*
 5                                   Anand Balakrishnan*
                                     AMERICAN CIVIL LIBERTIES UNION
 6                                   FOUNDATION
 7                                   125 Broad St., 18th Floor
                                     New York, NY 10004
 8                                   T: (212) 549-2660
 9                                   F: (212) 549-2654
                                     lgelernt@aclu.org
10                                   jrabinovitz@aclu.org
11                                   abalakrishnan@aclu.org
12                                   Bardis Vakili (SBN 247783)
13                                   ACLU FOUNDATION OF SAN DIEGO
                                     & IMPERIAL COUNTIES
14                                   P.O. Box 87131
15                                   San Diego, CA 92138-7131
                                     T: (619) 398-4485
16                                   F: (619) 232-0036
17                                   bvakili@aclusandiego.org
18                                   Stephen B. Kang (SBN 292280)
19                                   Spencer E. Amdur (SBN 320069)
                                     AMERICAN CIVIL LIBERTIES UNION
20
                                     FOUNDATION
21                                   39 Drumm Street
                                     San Francisco, CA 94111
22
                                     T: (415) 343-1198
23                                   F: (415) 395-0950
                                     skang@aclu.org
24
                                     samdur@aclu.org
25
                                     Attorneys for Petitioners-Plaintiffs
26                                         *Admitted Pro Hac Vice
27
28

                                       18                             18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 222 Filed 09/13/18 PageID.3517 Page 20 of 20




 1                                   JOSEPH H. HUNT
                                     Assistant Attorney General
 2
                                     SCOTT G. STEWART
 3                                   Deputy Assistant Attorney General
                                     WILLIAM C. PEACHEY
 4
                                     Director
 5                                   WILLIAM C. SILVIS
 6                                   Assistant Director

 7                                   /s/ Sarah B. Fabian
 8                                   SARAH B. FABIAN
                                     Senior Litigation Counsel
 9                                   NICOLE MURLEY
10                                   Trial Attorney
                                     Office of Immigration Litigation
11                                   Civil Division
12                                   U.S. Department of Justice
                                     P.O. Box 868, Ben Franklin Station
13                                   Washington, DC 20044
14                                   (202) 532-4824
                                     (202) 616-8962 (facsimile)
15                                   sarah.b.fabian@usdoj.gov
16
                                     ADAM L. BRAVERMAN
17                                   United States Attorney
18                                   SAMUEL W. BETTWY
                                     Assistant U.S. Attorney
19
20                                   Attorneys for Respondents-Defendants

21
22
23
24
25
26
27
28

                                      19                           18cv428 DMS MDD
